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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
18-CV-08175-ER
-- against --

BARRY C. HONIG, JOHN STETSON,
MICHAEL BRAUSER, JOHN R. O'ROURKE Ill,
MARK GROUSSMAN, PHILLIP FROST,
ROBERT LADD, ELLIOT MAZA, BRIAN
KELLER, JOHN H. FORD, ALPHA CAPITAL
ANSTALT, ATG : CAPITAL LLC, FROST
GAMMA INVESTMENTS TRUST, GRQ
CONSULTANTS, INC., HS CONTRARIAN
INVESTMENTS, LLC, GRANDER HOLDINGS,
INC. , MELECHDAVID, INC., OPKO HEALTH,
INC., SOUTHERN BIOTECH, INC., and
STETSON CAPITAL INVESTMENTS INC.,

Defendants.

Xx

ORDER FOR ADMISSION PRO HAC VICE

The motion of Melissa L. Mackiewicz for admission to practice Pro Hac Vice in the
above captioned action is GRANTED.

Applicant has declared that he is a member in good standing of the Bar of the State of
Florida, and that his contact information is as follows:

Melissa L. Mackiewicz

RICHARD AND RICHARD, P.A.

825 Brickell Bay Drive

Tower II], Suite 1748

Miami, FL 33131

T: 305-374-6276

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E: melissa@richardandrichard.com
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Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel
for Defendants Michael Brauser and Granger Holdings, Inc., in the above-captioned action;
IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the above-
captioned case in the United States District Court for the Southern District of New York. All
attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys.

Dated:

The Honorable Edgardo Ramos
United States District Judge

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